

Matter of Curry-Malcolm v New York State Teachers' Retirement Sys. (2022 NY Slip Op 00761)





Matter of Curry-Malcolm v New York State Teachers' Retirement Sys.


2022 NY Slip Op 00761


Decided on February 4, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 4, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., NEMOYER, CURRAN, AND BANNISTER, JJ.


45 CA 21-00771

[*1]IN THE MATTER OF BERNICE CURRY-MALCOLM, PETITIONER-APPELLANT,
vNEW YORK STATE TEACHERS' RETIREMENT SYSTEM, RESPONDENT-RESPONDENT, ET AL., RESPONDENTS. (APPEAL NO. 2.) 






BERNICE CURRY-MALCOLM, PETITIONER-APPELLANT PRO SE. 
LETITIA JAMES, ATTORNEY GENERAL, ALBANY (DUSTIN J. BROCKNER OF COUNSEL), FOR RESPONDENT-RESPONDENT.


	Appeal from a judgment (denominated order and judgment) of the Supreme Court, Monroe County (Gail Donofrio, J.), entered December 8, 2020 in a proceeding pursuant to CPLR article 78. The judgment dismissed the petition against respondent New York State Teachers' Retirement System. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed without costs for reasons stated in the decision at Supreme Court.
Entered: February 4, 2022
Ann Dillon Flynn
Clerk of the Court








